** SCHOOL BOARD — INDEPENDENT SCHOOL DISTRICT — ELECTION — MUNICIPALITY OR SCHOOL DISTRICT ** (A) THE EXPENSES OF HOLDING AN ELECTION OF MEMBERS OF THE BOARD OF EDUCATION OF AN INDEPENDENT SCHOOL DISTRICT CONTAINING A CITY MUST BE BORNE BY SAID CITY WHETHER OR NOT IT IS A CHARTER CITY MUST BE BORNE BY SAID CITY WHETHER OR NOT IT IS A CHARTER CITY, AND THAT THERE IS NO PROVISION MADE BY STATUTE FOR THE PAYMENT BY THE SCHOOL BOARD OF THE EXPENSES OF HOLDING SUCH ELECTION.  (B) CANDIDATES FOR THE OFFICE OF MEMBERS OF THE BOARD OF EDUCATION, IN AN INDEPENDENT SCHOOL DISTRICT CONTAINING A CITY OR LESS THAN 5,000 POPULATION, ARE REQUIRED TO BE NOMINATED AT A PRIMARY ELECTION AS PROVIDED BY 11 O.S. 41 [11-41] AND 11 O.S. 41 [11-41](A) AND THAT SUCH CANDIDATES MUST FILE FOR SAID NOMINATION WITHIN THE TIME PRESCRIBED BY 11 O.S. 48 [11-48] HOWEVER, A CANDIDATE MAY FILE AS AN INDEPENDENT, RATHER THAN A POLITICAL PARTY CANDIDATE, AND IF HE TIMELY FILES AS SUCH, HE IS ENTITLED TO HAVE HIS NAME PRINTED ON THE GENERAL ELECTION BALLOTS, AND IS NOT REQUIRED TO BE FIRST NOMINATED AT A PRIMARY ELECTION. SEE: 11 O.S. 49 [11-49], 11 O.S. 50 [11-50] (SPECIAL ELECTION, SCHOOL DISTRICT, EXPENSES) CITE: 11 O.S. 35 [11-35], 70 O.S. 41 [70-41], 11 O.S. 24 [11-24] (RICHARD W. HUFF)